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         Exhibit 26
3/22/24, 11:58 AM    Case 1:21-cv-02131-CJN-MAU Document   82-5 Filed
                                                    nimbus screenshot       03/22/24 Page 2 of 2
                                                                      app print
                                                                                                                       screenshot-twitter.com-2024.03.22-11_58_31
                                                                                                 https://twitter.com/AttyStefLambert/status/1769736146043465899
                                                                                                                                                       22.03.2024

                    Stefanie Lambert
                    @AttyStef Lambert

       I ,gave t he evidence,to law enforcemen . The discovery (fil e from
       Dominion) conta'ined evi'dence of numerou s crim es. The Co11stit ution
       does not permit secre·t Serbi ans t o run our elections. local cl erks are t o
       ru n our election s. & transparency is preve11ted by vendors (Dominion) ..

            Wh n Dominion rais d the prospect of sanctions, it no\ed that Lambert is famillar wi h the
            proC!ess. since she was ini ially sanctioned for her invohl\emen as lorn I coumel in the
            Michigan "Kra en~ lawsuit before n appella e court reversed ,

            " ambert does not and cannot. contest the requir ments set forth in the Protective Ord r,
            which itself contemplates sanctions if breached. Rather, she apparently believes that she
            has the unilateral authority to decide wlt\etfl r or not she needs to comply. As a barred,
            licensed attorney. Lambert is vell ware tha co\Jrt orders are not o· tional ( nd, lest she
            had any doubt the discipl inary r,eferrals, bench w,man . and sanctions en ered against her
            by various courts have surely apprised her of th.at fact)," the motion x)id. "The only
            question for his Court, then, is whether her vi olatro , warran s dis.qualifka ·on. It does."


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